                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA

 UNITED STATES OF AMERICA                      )
                                               )
         v.                                    )       Case No. 1:16-cr-62-9
                                               )       Judge Mattice/Steger
 KADIE ENGLAND                                 )


                             REPORT AND RECOMMENDATION

         Pursuant to 28 U.S.C. § 636(b), the undersigned United States Magistrate Judge

 conducted a plea hearing in this case on July 14, 2016. At the hearing, Defendant entered a plea

 of guilty to Count One of the Indictment in exchange for the undertakings made by the

 Government in the written Plea Agreement and Plea Agreement Supplement (hereinafter “Plea

 Agreement”). On the basis of the record made at the hearing, the Court finds that Defendant is

 fully capable and competent to enter an informed plea; the plea is made knowingly and with full

 understanding of each of the rights waived by Defendant; it is made voluntarily and free from

 any force, threats, or promises, apart from the promises in the Plea Agreement; Defendant

 understands the nature of the charges and penalties provided by law; and the plea has a sufficient

 basis in fact.

         I therefore recommend that Defendant’s plea of guilty to Count One of the Indictment be

 accepted; the Court adjudicate Defendant guilty of the charges set forth in Count One of the

 Indictment; and the written Plea Agreement be accepted at the time of sentencing. I further

 recommend that Defendant remain in custody until sentencing in this matter. Acceptance of the

 plea, adjudication of guilt, acceptance of the Plea Agreement, and imposition of sentence are

 specifically reserved for the District Court Judge.

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        The Defendant’s sentencing hearing is scheduled on October 24, 2016, at 9:00 a.m.

        ENTER:


                                              s/Christopher H. Steger
                                              UNITED STATES MAGISTRATE JUDGE




                                      NOTICE TO PARTIES

         You have the right to de novo review by the district judge of the foregoing findings.
 Any application for review must be in writing, must specify the portions of the findings or
 proceedings objected to, and must be filed and served no later than fourteen (14) days after the
 plea hearing. Failure to file objections within fourteen days constitutes a waiver of any further
 right to challenge the plea of guilty in this matter. See 28 U.S.C. § 636(b).




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